Case: 1:18-cv-03632 Document #: 1-2 Filed: 05/23/18 Page 1 of 3 PageID #:23




                              EXHIBIT 2
                Case: 1:18-cv-03632 Document #: 1-2 Filed: 05/23/18 Page 2 of 3 PageID #:24


                                                                        Lili Ma <lili19871102@gmail.com>



巴国演义
5 messages

墨趣无穷 <zhang­sp02@qq.com>                                                     Mon, Jun 8, 2015 at 12:26 AM
To: lili19871102 <lili19871102@gmail.com>

 马莉莉你好，我是张书朋，这是写好的招牌，我自己用ps处理过了。如果有不满意的地方尽管说：）


Lili Ma <lili19871102@gmail.com>                                              Fri, Jun 12, 2015 at 4:02 PM
To: 墨趣无穷 <zhang­sp02@qq.com>

 你好，实在不好意思，最近太忙没有查邮件，但是邮件里没有附件哎
 [Quoted text hidden]



墨趣无穷 <zhang­sp02@qq.com>                                                      Fri, Jun 12, 2015 at 8:17 PM
To: lili19871102 <lili19871102@gmail.com>

 呃估计出什么bug了，看看这次有了没？

 ­­­­­­­­­­­­­­­­­­ 原始邮件 ­­­­­­­­­­­­­­­­­­

   发件人: "lili19871102";<lili19871102@gmail.com>;
   发送时间: 2015年6月13日(星期六) 凌晨5:02
   收件人: "墨趣无穷"<zhang­sp02@qq.com>;
   主题: Re: 巴国演义


 你好，实在不好意思，最近太忙没有查邮件，但是邮件里没有附件哎

 2015­06­08 1:26 GMT­04:00 墨趣无穷 <zhang­sp02@qq.com>: 
   马莉莉你好，我是张书朋，这是写好的招牌，我自己用ps处理过了。如果有不满意的地方尽管说：）




                                              招牌.JPG 
                                              254K




Lili Ma <lili19871102@gmail.com>                                             Sat, Jun 13, 2015 at 10:00 AM
To: 墨趣无穷 <zhang­sp02@qq.com>

 啊 有了 谢谢哈 幸苦
 [Quoted text hidden]



Lili Ma <lili19871102@gmail.com>                                              Thu, Sep 3, 2015 at 1:50 PM
To: KeyConcept Design <Keyconceptdesign@gmail.com>

 [Quoted text hidden]
Case: 1:18-cv-03632 Document #: 1-2 Filed: 05/23/18 Page 3 of 3 PageID #:25
                        招牌.JPG 
                        254K
